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                                                        U.S. Department of Justice

                                                        Michael R. Sherwin
                                                        United States Attorney

                                                        District of Columbia


                                                        Judiciary Center
                                                        555 Fourth St., N.W.
                                                        Washington, D.C. 20530


Via Email and ECF                                                October 12, 2020

 Christopher M. Davis, Esq.
 1350 Connecticut Ave, NW
 Suite 202
 Washington, D.C. 20036
 cmdavisdc@gmail.com

          Re:   United States v. Shahn Giles, 20-CR-206 (RDM)

Dear Mr. Davis:

      I am writing to provide you with certain information for the above-captioned case and to
memorialize discovery provided to date.

I.        Plea Offer

        Your client is currently charged by Indictment with one count of Unlawful Possession
with Intent to Distribute 40 Grams or More of Fentanyl, in violation of 21 U.S.C. §§ 841(a)(1)
and 841(b)(1)(B)(vi).

II.       Discovery

       The following materials were provided to you via the USAfx file-sharing site on October
12, 2020. Please let me know if you did not receive any of the materials or have trouble
accessing any of them.

      •   Copy of the Indictment (4 page pdf);
      •   Photos (44);
      •   September 23, 2020 COBALT Arrest Packet Defendant Brooks (CCN 20136062) (30
          page pdf);
      •   September 23, 2020 COBALT Arrest Packet Defendant Giles (CCN 20136097) (20 page
          pdf);
      •   October 07, 2020 COBALT Arrest Packet Defendant Canarte (CCN 20143256) (12 page


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        pdf);
    •   September 23, 2020 Gerstein Defendant Brooks (2 page pdf);
    •   September 23, 2020 Gerstein Defendant Canarte (1 page pdf);
    •   September 23, 2020 Gerstein Defendant Giles (1 page pdf);
    •   October 7, 2020 Gerstein Defendant Canarte (1 page pdf);
    •   Vehicle Search Warrant 2019 CSW 2943 (10 pages);
    •   PD256 Defendant Canarte (2 page pdf);
    •   Paperwork for Defendant Brooks and Cooper (13 page pdf)
            o PD256 for Cooper (2 page pdf);
            o PD81 for “Phone (cracked)” and “Sim Card” from Cooper (2 page pdf);
            o PD81 for “Scale” from Cooper (2 page pdf)
            o PD81 for “Alcatel cellphone” from Defendant Brooks (2 page PDF);
            o PD81 for “Keys to a 2011 Jeep” from Defendant Giles and Deangelo McCombs
               (2 page pdf);
            o PD81 for “Firearm with magazine” and “9mm ammunition” from Defendant
               Brooks (2 page pdf);
            o Submission Receipt Form (1 page pdf)
    •   Evidence Search Results from Evidence.com (17 pdfs) 1
            o CCN 20078176 Evidence Search Results 1-500
            o CCN 20078176 Evidence Search Results 501-665
            o CCN 20135962 Evidence Search Results 1-22
            o CCN 20134963 Evidence Search Results 1-51
            o CCN 201125978 Evidence Search Results 1-12
            o CCN 201135987 Evidence Search Results 1-57
            o CCN 20135990 Evidence Search Results 1
            o CCN 20135994 Evidence Search Results 1-31
            o CCN 20136005 Evidence Search Results 1-7
            o CCN 20136013 Evidence Search Results 1-4
            o CCN 20136032 Evidence Search Results 1-76
            o CCN 20136062 Evidence Search Results 1-145
            o CCN 20136097 Evidence Search Results 1-132
            o CCN 20137160 Evidence Search Results 1-13
            o CCN 20138656 Evidence Search Results 1-22
            o CCN 20140319 Evidence Search Results 1-31
            o CCN 20143256 Evidence Search Results 1-13

       The government has proposed a Body Worn Camera (BWC) protective order and will
disclose the BWC once the protective order is in place.

       EVIDENCE: Please note that at trial the government may seek to introduce the physical
evidence that is described in the attached police reports and those items listed below. This
evidence includes:


1
 The Evidence Search Results provided stem from the warrants executed on, or stemming from, September 23,
2020. The CCN 20078176 is the “lead” CCN. All other “sub” CCNs listed have been cross-tagged under that CCN.


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           •   Photographs of the scenes, evidence, and your client
           •   Diagrams or maps of the locations where relevant incidents occurred in the
               District of Columbia
           •   Firearms, ammunition, and magazines
           •   Radio runs
           •   Video from MPD Body Worn Cameras
           •   Surveillance video
           •   Judgment and commitment orders and related court documents from prior
               convictions punishable by imprisonment for a term exceeding one year

        INSPECTION: Upon request, you are entitled to inspect and copy or photograph certain
books, papers, documents, photographs, tangible objects, buildings or places that are within the
possession, custody or control of the government. See Fed. R. Crim. Pro. 16(a)(1)(E). If you
would like to view any of the evidence listed above or described on the attached police reports,
please contact me and we can make arrangements for you, or your certified investigator, to
inspect the evidence. These arrangements will include a condition that you not raise any
objection to the admissibility of such evidence at trial because of the break in the chain-of-
custody occasioned by your inspection.

       DEFENDANT’S RULE 16 STATEMENTS (known at this time): Please refer to the
body-worn camera footage that will be provided at a later date, which may include recorded
statements your client made to law enforcement officers. The government will notify you in
writing if it learns of additional statements subject to production under Rule 16.

       DEFENDANT’S CRIMINAL HISTORY: Please refer to the report of Pretrial
Services. The government will provide certified copies of qualifying convictions when received.

       REVERSE DISCOVERY REQUEST: The government hereby makes a reverse
discovery request for:

   •   All materials discoverable under Fed. R. Crim. Pro. 16(b);
   •   Prior statements of any defense witness (excluding the defendant) pursuant to Federal
       Rule of Criminal Procedure 26.2; and
   •   A Lewis request for all defense witnesses (to include name, date of birth, sex, and social
       security number of the witness).

        If you have any questions with respect to the information provided, or any other issue in
this case, please do not hesitate to contact me.

                                                     Sincerely,

                                                     /s/ RAF
                                                     Rachel A. Fletcher
                                                     Assistant United States Attorney
                                                     rachel.fletcher@usdoj.gov
                                                     202-252-7093


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